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                                                                             4


                                                                                        Dec 13, 2021
                           U N ITED STATE S D ISTR ICT CO U R T
                           SO UTH ERN D ISTR ICT O F FL O R ID A
                  21-20598-CR-SCOLA/GOODMAN
                            CA SE N O .
                                        18U.S.C.j 113(g)(5)

 U N ITED STAT ES O F AM ER ICA

 V.

 M A X W ELL BER RY ,

        D efendant.
                                           /


                                       IN FO R M ATIO N

        The U nited States Attorney chargesthat:

                                          C O U NT 1
          A ssaultw ithin M aritim e and TerritorialJurisdiction ofthe U nited States
                                    (18U.S.C.j113(a)(5))
        On oraboutAugust1,2021,inthespecialaircraftjudsdictionoftheUnitedStates,wllile
 aboard FrontierAirlinesflight2239 en routefrom Plziladelphia,Perm sylvnniato M inm i,Florida,

 with the Southern DistrictofFloridabeing the distlictto which the defendantwasfirstbrought,

 the defendant,

                                    M AX W ELL BER R Y ,

 assaulted a flightattendantoftheaircraft nnm ely,G:J.G.,''in violation ofTitle 18,United States

 Code,Section 113(a)(5)andTitle49,United StatesCode,Section 46506.
                                          C O U NT 2
          A ssaultw ithin M aritim e and TerritorialJurisdiction ofthe U nited States
            '                       (j.8U.8.C.jjj.3(a)(5))
        On oraboutAugust1,2021,inthespecialaircraftjudsdiction oftheUrlited States,while
 aboard FrontierA irlines flight2239 en route f'
                                               rom Plliladelphia,Pennsylvania to M inm i,Florida,
Case 1:21-cr-20598-RNS Document 1 Entered on FLSD Docket 12/13/2021 Page 2 of 4




 with the Southem DistrictofFlorida being the districtto which the defendantwasfirstbrought,

 the defendant,

                                     M A XW E LL BER RY ,

 assaulted a flightatlendantoftheaircraft,nnmely,;<T.B.,''in violation ofTitle 18,United States

 Code,Section 113(a)(5)andTitle49,UnitedStatesCode,Section46506.
                                          C O U NT 3
          A ssaultw ithin M aritim e and TerritorialJurisdiction ofthe U nited States
                                     (18U.S.C.j113(a)(5))
        0noraboutAugust1,2021,inthespecialaircraftjtuisdictionoftheUnited States,while
 aboard FrontierAirlinesflight2239 en routefrom PhiladelplliaaPezm sylvania to M inm i,Flodda,

 with the Southem DistrictofFloddabeing the districtto which the defendantwasfirstbrought,

 the defendant,

                                     M A X W ELL BER RY ,

 assaulted aflightattendantofthe aircraft,nam ely,GtC.A.,''in violation ofTitle 18,Urlited States

 Code,Section 113(a)(5)andTitle49,UnitedStatesCode,Section46506.


         gZ                          -
                                         '



       A N TO O ON Z     Z
 U NITED STATES A TTORN EY


                  V
 A DA M M .I'IAPN E .
 A SSISTA N T UN ITED STA TES A TTORN EY
    Case 1:21-cr-20598-RNS Document 1 Entered on FLSD Docket 12/13/2021 Page 3 of 4
                                            UNITED STATESDISTRICT CO URT
                                            SO UTH ERN DISTRICT OF FL OU A

  X     TED STATESO F AM ER ICA                         CASE NO.
   V.            '
   M A XW ELL BERR Y,                                   C ER T W IC A T E OF T R TM ,A T T OR N E Y Y
                                                        Superseding Caselnform ation:
                Defendant.                   /
      CourtDivisionrtselectOne)                         Newdefendantts) I
                                                                        --IYes I'-INo
    1-
     Z Miami F-llteyWest I
                         N FTL                          Numberofnewdefendants
    I--IWPB I--IF'I'P                                   Totalnumberofcolmts
         1.1have carefully consideredtheallegationsoftheindictm ent,thenum berofdefendmzts,thenum berofproG ble
           witnessesandthelegalcom plexitiesoftheIndictment/lnfonnation attachedhereto.
         2.1am aware thattheinform ation suppliedonthisstatem entwillberelied upon by theJudgesofthisCoul'
                                                                                                         tin
           settingtheircalendarsand scheduling crim inaltrialsunderthem andateofthe Speedy TrialAct,
           Title28 U.S.C.Section 3161.
         3.Interpreter:(YesorNo) No
           Listlanguageand/ordialect
         4.Thiscase willtake 0 daysforthepM iesto try.
         5.Pleasecheck appropriatecategory and typeofoffenselistedbelow :
              (Checkonlyone)                            (Checkonlyone)
          I 0to5dâys              Hz                   Petty             E7l
          11 6to10days            (71                  Minor             (71
          I11 11to20days          g71  .               Misdemeanor       EdE
          IV 21to60days           E7l                  Felony            EEI
          V 61daysandover         Eql
         6.HasthiscmsepreviouslybeenfiledinthisDistrictCourt? (YesorNo) No
           Ifyes:Judge                                  CaseNo.
           (Attachcopyofdispositiveorder)
           Hasacomplaintbeenfiledinthismatter? (YesorNo) No
           Ifyes:M agistrateCaseN o.
           Relatedm iscellaneousnumbers:
           Defendantts)infederalcustodyasof
           Defendantts)instatecustodyasof
           Rule20 from theDistrictof
           lsthisapotentialdeathpenaltycase?(YesorNo) No
         7. Doestlliscase originatefrom amaterpending intheCentralRegion oftheU.S.Attorney'sOffice priorto
           August9,2013(M ag,JudgeAlicia0.Valle)?(YesorNo) No
         8. Doesthiscmse originatefrom amatterpending intheN orthernRegion oftheU.S.Attorney'sOffice priorto
           August8,2014(Mag.JudgeShaniekM aynard?(YesorNo) No
         9. Doesthiscase originatefrom amatterpending in theCentralRegion oftheU .S.Attorney'
                                                                                            sOfficepriorto
           October3,2019(Mag.JudgeJaredStrauss)?(YesorNo) No



                                                                     ADAM HAPN ER
                                                                     AssistantUnited StatesAttorney
                                                                     FLA BarN o.        112006
*penalt,ySheet
             ts)attachd                                                                               REV 3/19/21
Case 1:21-cr-20598-RNS Document 1 Entered on FLSD Docket 12/13/2021 Page 4 of 4




                           UN ITED STA TES DISTR IC T C O UR T
                           SO U TH ER N D ISTRIC T O F FLO R ID A

                                      PEN A LTY SH EET

 D efendant'sN am e: M A XW E LL B ERR Y



 Cotmts#:1-3

 Assaultwithin M aritim eand TenitorialJtlrisdiction ofthe United States

 Title 18.United StatesCode.Section 113(a)(5)

 *M ax.Penplty: Six (6)months'impdsonment




  *R efers only to possible term ofincarceration,doesnotincludepossible fm es,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
